8:14-cr-00409-BCB-MDN       Doc # 161    Filed: 10/08/15   Page 1 of 18 - Page ID # 509




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiffs,                                 8:14CR409

      vs.
                                                    MEMORANDUM AND ORDER
SHANE SEIZYS, EMMANUEL
CHAPLAIN, DILANG DAT, AND
THOMAS JONES-ROSS,

                    Defendants.


      This matter is before the Court on the Findings and Recommendation (Filing No.

145) and Supplemental Findings and Recommendation (Filing No. 160), issued by

Magistrate Judge F.A. Gossett recommending that the Motions to Suppress filed by the

Defendants, Emmanuel Chaplain (“Chaplain”) (Filing No. 80), Shane Seizys (“Seizys”)

(Filing No. 83), and Thomas Jones-Ross (“Jones-Ross”) (Filing Nos. 74 and 89),

respectively, be denied. Seizys (Filing No. 147) and Chaplain (Filing No. 149) filed

Objections to the Findings and Recommendation as allowed by 28 U.S.C. §

636(b)(1)(C) and NECrimR 59.2(a). The Government responded (Filing No. 153) to the

Objections, incorporating its previously filed briefs in opposition to the Motions to

Suppress (Filing Nos. 131 and 144). For the reasons set forth below, the Findings and

Recommendation and Supplemental Findings and Recommendation will be adopted,

and the Motions to Suppress will be denied. Also before the Court is the Objection to

Magistrate Judge’s Order (Filing No. 129), filed by Defendant Dilang Dat (“Dat”). For

the reasons discussed below, the Objection will be overruled.
8:14-cr-00409-BCB-MDN       Doc # 161    Filed: 10/08/15    Page 2 of 18 - Page ID # 510




                                    BACKGROUND

      Chaplain and Seizys do not formally object to the Magistrate Judge’s factual

findings nor is there any indication that the Magistrate Judge’’s factual findings were

erroneous.   The Court adopts Judge Gossett’s factual findings and provides the

following by way of summary:

      On June 23, 2014, the Kum & Go convenience store located at 1010 South 154th

Street in Omaha, Nebraska, was robbed. Witnesses to the robbery described the

suspects as two, dark-skinned black males with handguns. Witnesses also indicated

that the suspects wore dark hooded sweatshirts and one suspect had a bandana over

his face. The suspects were seen leaving in a silver or white sedan.

      A few minutes after the Kum & Go was robbed, police were dispatched to the

area of 90th and Maple Streets in Omaha to respond to a silver Oldsmobile Aurora (the

“Oldsmobile”) that had stalled in traffic. Although no occupants of the vehicle were

present when police arrived at the scene, Officer Chad Wiebers had seen the

Oldsmobile earlier while on his way to another call. At that time, Officer Wiebers

observed several occupants of the vehicle and made eye contact with the driver.

      Law enforcement discovered that the Oldsmobile was registered to Tamiko

Jones, Defendant Jones-Ross’s mother. Police interviewed Tamiko Jones who informed

officers that Jones-Ross was previously in possession of the vehicle. A photo lineup that

included Jones-Ross’s picture was shown to Officer Wiebers. The line-up included

photographs of six black males, with features similar to those of Jones-Ross. Officer

Wiebers identified Jones-Ross as the driver of the Oldsmobile.



                                           2
8:14-cr-00409-BCB-MDN        Doc # 161    Filed: 10/08/15   Page 3 of 18 - Page ID # 511




         On July 16, 2014, the GameStop located at 9959 Redick Circle in Omaha was

robbed. Video games were taken in that robbery. Approximately twenty minutes later,

the Kentucky Fried Chicken (“KFC”) located at 7601 North 30th Street in Omaha was

robbed. Omaha Police Officer Patrick Dempsey received a call to respond to the scene

of the robbery at 6:58 p.m. Officer Dempsey testified that he arrived on the scene less

than 45 seconds after the call. Upon arrival, a KFC employee told Officer Dempsey that

the restaurant had just been robbed by two black males, and that they had run

eastbound. At that moment, Officer Dempsey dispatched through radio that two black

males had robbed the KFC and ran eastbound. The employee then stated that the

suspects ran eastbound to a white Ford Mustang (the “Mustang”) parked approximately

one block away from the KFC, changed shirts near the vehicle, and continued to run

eastbound. Officer Dempsey testified that upon arriving to the area where the Mustang

was parked, he was approached by an individual who stated that the suspects walked

eastbound and possibly southbound. Officer Dempsey transmitted this additional

information over his police radio.

         Officer Chad Frodyma and his partner, Officer Petrick, heard Officer Dempsey’s

radio call. Officer Frodyma testified that he recalled hearing over the radio that three

black males, two of whom appeared to be of Sudanese descent and two of whom were

wearing white t-shirts, ran from the area. Officer Dempsey does not recall providing a

description of the suspects’ particular complexion, height, weight, or clothing over the

radio.

         Officer Frodyma and Officer Petrick arrived to the area surrounding the KFC

approximately one minute to one-and-a-half minutes after Dempsey’s radio call. Officer

                                            3
8:14-cr-00409-BCB-MDN       Doc # 161    Filed: 10/08/15    Page 4 of 18 - Page ID # 512




Frodyma then heard a second radio call indicating that a witness saw the parties leave

a car parked on 29th Street and head east and to the south. Officers Frodyma and

Petrick then drove toward that area. Approximately three to four blocks away from the

KFC, Officers Frodyma and Petrick observed three black males, two of whom appeared

to be of Sudanese descent and one of whom was wearing a white t-shirt. Officer

Frodyma testified that he observed the individuals within three minutes of the time the

initial call came out.

       As soon as Officer Frodyma opened the door to exit his cruiser, one of the black

males fled the area on foot. The fleeing male was later identified as Chaplain. Officer

Frodyma then drew his weapon, ordered the remaining two black males to the ground.

These individuals were later identified as Dat and Seizys. Chaplain was detained a

short time thereafter. Officers conducted a pat down of both Dat and Seizys. In Dat’s

pocket, officers located a little over $200 in cash, mostly crumbled up, as well as a key

that matched the Mustang. On Seizys, officers found over $200 in cash, some of which

was crumbled up.

       Law enforcement then administered a “show-up” identification process. Chaplain,

Dat, and Seizys were transported to the KFC parking lot and placed in separate police

cruisers. One at a time, each suspect—cuffed and accompanied by armed officers—

stepped out of a police cruiser, and was presented to each individual witness for

identification.

       Two witnesses who were behind the counter when the robbery occurred, William

Booth (“Booth”) and Audrey Chaney (“Chaney”), positively identified Seizys as a

participant in the robbery. Chaney had previously described the first suspect as a dark-

                                           4
8:14-cr-00409-BCB-MDN       Doc # 161    Filed: 10/08/15      Page 5 of 18 - Page ID # 513




skinned black male, six feet tall, with a dark hooded sweatshirt and lighter colored

pants. She described the second suspect as a lighter-skinned black male, with a red

bandana, gray sweatshirt and dark jeans. Booth described one suspect as wearing a

red bandana with a gray hooded sweatshirt, light skinned, in his mid-20's. He described

another suspect as being a dark-skinned black man, six feet tall, slim build, wearing a

blue bandana and white pants. When Seizys presented to Booth for identification, Booth

said he was certain that Seizys was one of the robbers. Three other witnesses who

participated in the show-up were unable to identify anyone.

       Police Sergeant Russell Petersen also responded to the scene of the KFC

robbery and spoke to employees. Sergeant Petersen testified that he was told by

witnesses that some of the suspects were wearing gray sweatshirts and at least one

had a red bandana. Sergeant Petersen stated that, without entering, he looked into the

Mustang and could see a gray sweatshirt, red bandana and video games in plain view.

       Law enforcement searched the Mustang following the arrest, and before the

vehicle was towed to the Omaha Police Impound Lot. From this search, law

enforcement seized clothing and video games. Seizys’s identification card was also

found in the vehicle.

       Police also found a fictitious license plate taped to the rear of the Mustang. It

covered a plate belonging to Edward Chaplain, Defendant Chaplain’s brother. The

following day, police asked Edward Chaplain for permission to search the Mustang.

Edward Chaplain denied consent. Consequently, the police obtained a search warrant.

The application for the search warrant did not disclose to the issuing judge that police

searched the vehicle at the scene.

                                           5
8:14-cr-00409-BCB-MDN       Doc # 161    Filed: 10/08/15    Page 6 of 18 - Page ID # 514




      After Seizys was arrested, further investigation led officers to discover that he

was on parole. As part of that parole, he was wearing an electronic tracker on his ankle.

This device tracked to multiple locations, including the Kum & Go convenience store on

June 23, 2014. This evidence, along with Seizys’s blue sweatshirt found in the

Oldsmobile, connected Seizys to the Kum & Go, Game Stop, and KFC locations for

each of the robberies.

      Defendants Chaplain, Dat, Jones-Ross, and Seizys were charged together in a

multi-count indictment.

                               STANDARD OF REVIEW

      Under 28 U.S.C. § 636(b)(1)(C), the Court must make a de novo determination of

those portions of the findings and recommendation to which the Defendants have

objected. The Court may accept, reject, or modify, in whole or in part, the Magistrate

Judge's findings or recommendation. The Court may also receive further evidence or

remand the matter to the Magistrate Judge with instructions.

                                     DISCUSSION

I.    Standing to Object to Search of an Automobile

      Chaplain moves to suppress all evidence obtained from the Mustang on the

basis that the search of the Mustang was improper, that there was no probable cause

prior to obtaining a search warrant to search the vehicle, and that there was no probable

cause for his arrest. Seizys moves to suppress evidence obtained from both the

Mustang and the Oldsmobile, alleging the searches of both vehicles were illegal. The

Magistrate concluded that Chaplain and Seizys lacked standing to challenge the search

of the Oldsmobile and Mustang.

                                           6
8:14-cr-00409-BCB-MDN        Doc # 161      Filed: 10/08/15    Page 7 of 18 - Page ID # 515




       “To contest the validity of a search, a person must have a reasonable

expectation of privacy in the place searched.” United States v. Turner, 781 F.3d 374,

382 (8th Cir. 2015) cert. denied, No. 15-5230, 2015 WL 4388193 (U.S. Oct. 5, 2015)

(quoting United States v. Randolph, 628 F.3d 1022, 1026 (8th Cir. 2011)). “The

defendant moving to suppress has the burden of proving a reasonable expectation of

privacy in the area searched.” United States v. Maxwell, 778 F.3d 719, 732 (8th Cir.)

cert. denied sub nom. Powell v. United States, 135 S. Ct. 2390 (2015) and cert. denied,

135 S. Ct. 2827 (2015) (quoting United States v. Gomez, 16 F.3d 254, 256 (8th Cir.

1994)). To prove a cognizable privacy interest, a person “must show that (1) he ‘has a

reasonable expectation of privacy in the areas searched or the items seized,’ and (2)

‘society is prepared to accept the expectation of privacy as objectively reasonable.’”

United States v. Wheelock, 772 F.3d 825, 828 (8th Cir. 2014) (quoting United States v.

James, 534 F.3d 868, 872–73 (8th Cir. 2008)). “If a defendant fails to prove a

sufficiently close connection to the relevant places or objects searched he has no

standing to claim that they were searched or seized illegally.” United States v. Barragan,

379 F.3d 524, 529-30 (8th Cir. 2004) (quoting United States v. Gomez, 16 F.3d 254,

256 (8th Cir. 1994)). The Eighth Circuit has noted that

       Factors relevant to the determination of standing include the following:
       ownership, possession and/or control of the area searched or item seized;
       historical use of the property or item; ability to regulate access; the totality
       of the circumstances surrounding the search; the existence or
       nonexistence of a subjective anticipation of privacy; and the objective
       reasonableness of the expectation of privacy considering the specific facts
       of the case.

United States v. Anguiano, 795 F.3d 873, 878 (8th Cir. 2015) (quoting Gomez, 16 F.3d

at 256).

                                              7
8:14-cr-00409-BCB-MDN       Doc # 161     Filed: 10/08/15   Page 8 of 18 - Page ID # 516




      Although Chaplain and Seizys both claim ownership in items discovered in the

vehicles, neither Defendant claims ownership of the vehicles, and neither has

demonstrated a reasonable expectation of privacy in the vehicles at issue. Fourth

Amendment rights are personal and cannot be vicariously asserted; thus, a mere

passenger has no reasonable expectation of privacy in an automobile belonging to

another. Rakas v. Illinois, 439 U.S. 128, 138-44 (1978). Chaplain argues that he was

not a mere passenger, but that he had a sufficiently close connection to the Mustang.

To support this argument, Chaplain points to law enforcement’s knowledge of what the

suspects wore at the time of the robbery, and to the subsequent identification of this

clothing when looking through the Mustang’s window. This fact does not establish a

sufficiently close relationship to the Mustang. Chaplain does not argue that he was the

driver of the vehicle. Moreover, the present record lacks evidence establishing whether

Chaplain had his brother’s permission to use the Mustang, how long he had possession

of the car, and whether he maintained sole possession of the vehicle on the day of the

robbery. In fact, the key to the Mustang was found in Defendant Dat’s pocket,

suggesting that Chaplain did not maintain sole possession of the Mustang. The mere

act of storing one’s personal property in a vehicle is insufficient to demonstrate a close

relation to the vehicle. See Gomez, 16 F.3d at 256. Chaplain has not met his burden of

proof, and has no standing to challenge the legality of the search.

      Seizys does not allege that he was more than a passenger, but argues that he

had standing to challenge the search as a passenger. In support of this argument,

Seizys argues the Supreme Court’s holding in Brendlin v. California, 551 U.S. 249

(2007) applies to this case. In Brendlin, the Court held that a passenger seized for

                                            8
8:14-cr-00409-BCB-MDN       Doc # 161     Filed: 10/08/15   Page 9 of 18 - Page ID # 517




Fourth Amendment purposes during a traffic stop may challenge the stop of a vehicle.

Id. at 255, 259. However, the Eighth Circuit has declined to extend Brendlin to grant

standing to mere passengers to challenge the search of a vehicle. See U.S. v. Crippen,

627 F.3d 1056, 1063 (8th Cir. 2010); U.S. v. Spotted Elk, 548 F.3d 641, 657 (8th Cir.

2008). Seizys attempts to distinguish this case from Crippen and Spotted Elk by arguing

that the defendants in both cases did not claim ownership of the items seized in the

vehicles. In other words, Seizys argues that he had a reasonable expectation of privacy

in the vehicles because he left his property in them. Seizys provides no legal support for

his argument that a defendant can establish a privacy interest merely by leaving

personal property in a vehicle.    As noted above, Seizys cannot claim a legitimate

privacy interest merely because his personal effects were found in the vehicles

searched.    See Barragan, 379 F.3d at 530; see also Gomez, 16 F.3d at 256.

Accordingly, Chaplain and Seizys have failed to demonstrate a sufficiently close

connection to the vehicles searched and lack standing to challenge the search.

II.   Probable Cause to Arrest

      Chaplain and Seizys argue that their arrests were not supported by probable

cause. The Court first notes that officers were justified in stopping Dat, Chaplain and

Seizys. Police may conduct a brief investigative stop when they have reasonable,

articulable suspicion that a person is committing or is about to commit a crime. United

States v. Horton, 611 F.3d 936, 940 (8th Cir. 2010) (citing Terry v. Ohio, 392 U.S. 1, 21,

(1968)). A Terry stop may not be based on an “inarticulate hunch” but requires

reasonable, articulable suspicion, which is less than probable cause. Id. (citing Terry,

392 U.S. at 22). Reasonable, articulable suspicion may arise, for example, where a

                                            9
8:14-cr-00409-BCB-MDN         Doc # 161      Filed: 10/08/15   Page 10 of 18 - Page ID # 518




suspect flees, unprovoked, at the sight of an officer or “when a suspect matches the

description of a person involved in a disturbance near in time and location to the stop.”

Id.

       In this case, Dat, Seizys, and Chaplain matched the descriptions given to police

and were spotted within a few blocks of the robbery very shortly after the robbery

occurred. See id. Although officers’ testimony regarding the descriptions of the suspects

differed, the arresting officers received reports that multiple black males robbed the KFC

and ran eastbound and possibly southbound. (Tr. 42, 62.) The arresting officer testified

that he relied on information that three males had fled the scene of the robbery, two

were of Sudanese descent, and two were wearing white shirts. (Tr. 62.) When officers

stopped and approached Dat, Chaplain, and Seizys, Chaplain fled. At that point, Seizys

and Dat were ordered to the ground. Officers completed a pat-down search of Dat and

Seizys and officers eventually apprehended Chaplain. All of this occurred within four

blocks of the KFC and within three minutes of the initial call. Based on the totality of

these facts, the officers were justified in an initial stop.

       As a result of the Terry stop, officers obtained information supporting probable

cause to arrest the Chaplain, Seizys, and Dat. Probable cause for an arrest exists

when, considering all the circumstances, police have trustworthy information that would

lead a prudent person to believe that the suspect has committed or is committing a

crime. United States v. Roberts, 787 F.3d 1204, 1210 (8th Cir. 2015). A probability or

substantial chance of criminal activity, rather than an actual showing of criminal activity

is sufficient. United States v. Torres–Lona, 491 F.3d 750, 756 (8th Cir. 2007). In

determining whether officers had probable cause for an arrest, courts look to the events

                                               10
8:14-cr-00409-BCB-MDN       Doc # 161     Filed: 10/08/15    Page 11 of 18 - Page ID # 519




leading up to the arrest to conclude whether the historical facts, viewed from the

standpoint of an objectively reasonable police officer, constitute probable cause.

Maryland v. Pringle, 540 U.S. 366, 371 (2003).

       In addition to the description of the suspects and Chaplain’s flight at the sight of

law enforcement, officers discovered evidence to support probable cause to arrest the

suspects. For example, during the pat down of Seizys and Dat, officers located over

$200 in cash on each of them, some of which was crumpled in their pockets. Officers

testified that this finding was significant because when money is taken in a robbery, it is

often crumpled when quickly shoved into pockets. Also, officers located the key to the

Mustang on Dat. Thus, officers could tie Dat, and by association, Seizys, and Chaplain

to the Mustang. Witnesses had told officers that the suspects changed their clothes

near the Mustang. Considering the totality of the circumstances, an objectively

reasonable officer would have probable cause to arrest the Defendants.

III.   Show-Up Identification

       Seizys argues that the Magistrate erred because the show-up was impermissibly

suggestive and created a substantial likelihood of misidentification. Seizys relied on the

Eighth Circuit’s decision in Clark v. Caspari, 274 F.3d 507, 511 (8th Cir. 2001). In Clark,

the court concluded that a show-up was improperly suggestive when the suspects were

the only individuals presented to the witnesses and, at the time of the show-up, the

black suspects were surrounded by white officers, one of whom was holding a shot gun.

Id. The Eighth Circuit explained that under these circumstances, the witnesses

       . . . may have felt obligated to positively identify [the suspects], so as not
       to disagree with the police, whose actions exhibited their belief that they
       had apprehended the correct suspects. Essentially, [the witnesses] were

                                            11
8:14-cr-00409-BCB-MDN       Doc # 161     Filed: 10/08/15    Page 12 of 18 - Page ID # 520




       given a choice: identify the apprehended suspects, or nobody at all. This
       coercive scenario increased the possibility of misidentification.

Id.

       Seizys argues that the significant police presence and the fact that only the

suspects were presented to witnesses at the KFC demonstrates the same increased

possibility of misidentification. However, the Eighth Circuit has held “[a]bsent special

elements of unfairness, prompt on-the-scene confrontations do not entail due process

violations.” United States v. Pickar, 616 F.3d 821, 828 (8th Cir. 2010) (quoting United

States v. King, 148 F.3d 968, 970 (8th Cir.1998)). In Pickar, law enforcement conducted

a show-up in which the suspect was handcuffed and standing between two officers in

front of a marked police cruiser, with one of the officers shining a small flashlight in the

defendant’s face. Id. The Eighth Circuit held this procedure was not unduly suggestive,

reasoning that the facts could be distinguished from those in Clark. Id.         The court

explained that the procedure used in Pickar was “materially less suggestive” than that

used in Clark, and was therefore not unduly suggestive for purposes of due process

analysis. Id.; see also United States v. Martinez, 462 F.3d 903, 910 (8th Cir. 2006)

(“Necessary incidents of on-the-scene identifications, such as the suspects being

handcuffed and in police custody, do not render the identification procedure

impermissibly suggestive.”).

       The show-up in this case occurred a short time after the robbery and at the

scene of the robbery. Although the police presence was significant, there is no evidence

of aggression or threat to the suspects as was present in Clark. All officers at the scene

carried firearms which were visible and all suspects were handcuffed behind their


                                            12
8:14-cr-00409-BCB-MDN        Doc # 161     Filed: 10/08/15     Page 13 of 18 - Page ID # 521




backs. The individual suspects were escorted by officers to within 15 to 20 feet of the

vehicle occupied by the witness, directed to face the witness, and then rotated in a 360

degree fashion. Witnesses would be able to tell that each of the suspects was in police

custody. While the police presence was obvious, the only significant difference between

this case and Pickar is that the suspects were ordered to turn around while in Pickar the

officers shined a flashlight in the suspects’ faces. Accordingly, there is no indication

that, under the circumstances, this method was as unduly suggestive as the procedure

police used in Clark.

       Even    if   the   procedure   of   the    show-up    increased   the   possibility   of

misidentification, this would not end the inquiry. The Eighth Circuit in Clark stated that

even if the identification procedures gave “cause for concern,” the witnesses’

“identifications may nonetheless be admissible, as long as they are reliable. Reliability

‘is the linchpin in determining the admissibility of identification testimony.’” Id. (quoting

Manson v. Brathwaite, 432 U.S. 98, 114 (1977)). “In assessing reliability, [courts]

consider such factors as the opportunity of the witness to view the suspect during the

commission of the crime; the witness's degree of attention; the accuracy of the witness's

prior description of the suspect; the level of certainty demonstrated by the witness at the

confrontation; and the length of time between the crime and the confrontation.”

Brodnicki v. City of Omaha, 75 F.3d 1261, 1265 (8th Cir. 1996) (citing Neil v. Biggers,

409 U.S. 188, 199–200 (1972)). In Clark, even though the show-up procedure was

coercive, the Eighth Circuit held the identifications were nevertheless admissible

because the witnesses had an opportunity to view the perpetrators clearly; only a short



                                             13
8:14-cr-00409-BCB-MDN       Doc # 161     Filed: 10/08/15   Page 14 of 18 - Page ID # 522




time elapsed between the crime and the show-up; and there was no evidence that the

police prompted the witnesses to identify the suspects. 247 F.3d at 512.

      In this case, both witnesses were behind the counter at the KFC when it was

robbed and had an opportunity to clearly view the perpetrators at the time of the

robbery. Their degree of attention was supported by the descriptions they provided to

police. Booth described one of the suspects as a black male, with a red bandana, gray

hooded sweatshirt, five feet eleven inches to six feet tall, light skinned in his mid-20s.

Chaney described the same suspect as a black male, with a red bandana, gray

sweatshirt, five feet ten inches tall, 160 pounds in weight, and light skinned. Their

descriptions matched Seizys. Seizys is a light-skinned, black male, six feet one inch in

height, 160 pounds in weight, and 22 years old. Further, the search of the Mustang

revealed two gray hooded sweatshirts and a red bandana. Both witnesses also

demonstrated a high level of certainty with respect to their identification of Seizys.

Finally, the show-up took place a relatively short time after the robbery. Considering

these factors together, the Magistrate did not err in concluding that the identification

evidence was admissible.

IV.   GPS Evidence

      Seizys also argues that evidence taken from the GPS tracking device worn by

Seizys was improperly obtained. Seizys argues that the GPS tracking evidence was

obtained as a result of the illegal arrest and improper show-up. Seizys’s argument fails

because the Court concludes that Seizys’s arrest was supported by probable cause and

the identification testimony was not unreliable. Accordingly, the Magistrate did not err in

concluding that the GPS tracking evidence need not be suppressed.

                                            14
8:14-cr-00409-BCB-MDN      Doc # 161     Filed: 10/08/15    Page 15 of 18 - Page ID # 523




V.       Jones-Ross’s Motions to Suppress

         Jones-Ross filed two Motions to Suppress (Filing No. 74 and 89). Regarding

Filing No. 89, Jones-Ross did not object to the Magistrate’s Findings and

Recommendation. Having conducted a de novo review, the Court concludes that the

Magistrate’s Findings and Recommendation (Filing No. 145) with respect to Jones-Ross

will be adopted.

         On October 7, 2015, the Magistrate issued a Supplemental Findings and

Recommendation (Filing No. 160), noting that the Magistrate inadvertently omitted

reference to Jones-Ross’s Motion to Suppress at Filing No. 74. The Court’s review of

the record shows that Jones-Ross failed to file a brief in support of his Motion at Filing

No. 74 as required by NECrimR 12.3(a)(1). Further, Jones-Ross had an opportunity to

be heard on his Motion but did not raise the issue at the evidentiary hearing.

Accordingly, the Court considers Filing No. 74 as abandoned pursuant to NECrimR

12.3(a)(1), and the Supplemental Findings and Recommendation (Filing No. 160) will be

adopted.

VI.      Motion to Sever

         Dat argues that the Magistrate erred in denying his Motion to Sever because

potential evidence and charges against Seizys and Chaplain may prejudice the jury

against Dat. Federal Rule of Criminal Procedure 8(a) “allows a single indictment to

charge a defendant with multiple offenses only if the offenses are of the same or similar

character, based on the same act or transaction, or are parts of a common scheme or

plan.”    United States v. Steele, 550 F.3d 693, 702 (8th Cir. 2008). “This rule is

interpreted broadly in favor of joinder.” Id. Where charges are properly joined under

                                           15
8:14-cr-00409-BCB-MDN        Doc # 161      Filed: 10/08/15     Page 16 of 18 - Page ID # 524




Rule 8, Federal Rule of Criminal Procedure 14 provides the court discretion to “order

separate trials of counts” when the “joinder of offenses . . . in an indictment . . . appears

to prejudice a defendant.” Fed.R.Crim.P. 14(a). The prejudice a defendant would face

must be “severe or compelling.” United States v. Kirk, 528 F.3d 1102, 1108 (8th Cir.

2008) (citation and marks omitted); see also United States v. Young, 701 F.3d 1235,

1238 (8th Cir. 2012) (stating that [w]hether to sever a trial is a question left to the district

court's discretion and we “will not reverse unless the defendant shows an abuse of

discretion resulting in severe prejudice.”). “Severe prejudice ‘occurs when a defendant

is deprived of an appreciable chance for an acquittal, a chance that [the defendant]

would have had in a severed trial.’” Young, 701 F.3d at 1238 (quoting United States v.

Taken Alive, Jr., 513 F.3d 899, 902 (8th Cir. 2008)). “[T]here is a strong presumption

against severing properly joined counts.” United States v. Garrett, 648 F.3d 618, 626

(8th Cir. 2011) (quoting United States v. McCarther, 596 F.3d 438, 442 (8th Cir.2010)).

The defendant bears the burden of establishing severe prejudice. Id.

       Dat does not argue that the charges were improperly joined under Rule 8, and he

has not demonstrated sufficient prejudice to merit severance in this case. He argues

that felon-in-possession-of-a-firearm charges against his co-defendants may serve as a

conduit through which Dat’s prior convictions may be revealed, though he was not

charged with being a felon in possession of a firearm. However, Dat offers no evidence

or indication of how his prior convictions or bad acts may be introduced. Further,

“[s]everance is not required merely because evidence which is admissible only against

some defendants may be damaging to others.” United States v. Casteel, 663 F.3d 1013,

1019 (8th Cir. 2011) (quoting United States v. Delpit, 94 F.3d 1134, 1143 (8th

                                              16
8:14-cr-00409-BCB-MDN        Doc # 161     Filed: 10/08/15     Page 17 of 18 - Page ID # 525




Cir.1996)). “The Supreme Court has made it clear that the risk of prejudice posed by

joint trials is best cured by careful and thorough jury instructions . . . .” Id. Dat failed to

demonstrate that any prejudice he may suffer is “substantial enough to outweigh the

general efficiency of joinder.” Id. (internal quotation and marks omitted). Accordingly,

the Magistrate did not err in denying Dat’s Motion to Sever.

                                       CONCLUSION

       For the reasons discussed, the Findings and Recommendation will be adopted;

the Motions to Suppress will be denied; and Dat’s Objection to the Magistrate’s Order

(Filing No. 129) will be overruled.

       IT IS ORDERED:

       1.     The Findings and Recommendation (Filing No. 145) and Supplemental

              Findings and Recommendation (Filing No. 160), issued by Magistrate

              Judge F.A. Gossett are adopted in their entirety;

       2.     The Motions to Suppress filed by the Defendants Emmanuel Chaplain

              (Filing No. 80), Shane Seizys (Filing No. 83), and Thomas Jones-Ross

              (Filing Nos. 74 and 89) are denied;

       3.     The Objections to the Magistrate’s Order filed by Shane Seizys (Filing No.

              147) and Emmanuel Chaplain (Filing No. 149) are overruled;

       4.     The Clerk of Court is directed to terminate the Response to Objection to

              Findings and Recommendation (Filing No. 153); and

       5.     The Objection to Magistrate Judge’s Order (Filing No. 129), filed by

              Defendant Dilang Dat is overruled.



                                              17
8:14-cr-00409-BCB-MDN     Doc # 161    Filed: 10/08/15      Page 18 of 18 - Page ID # 526




      Dated this 8th day of October, 2015

                                                 BY THE COURT:
                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge




                                            18
